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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


 UNITED STATES OF AMERICA


        V.

                                                             l:18-cr-00307(LMB)
 JORGE MARIO MENDEZ FERNANDEZ,

               Defendant.

                                 MEMORANDUM OPINION


       Before the Court is Defendant's Motion to Dismiss Indictment [Dkt. No. 20]. For the

reasons stated in open court and further developed below, defendant's motion has been denied.^
                                      I. BACKGROUND


       Jorge Mario Mendez Fernandez("defendant") is a citizen of Guatemala who entered the

United States without authorization in February 1993. After being taken into custody by an

officer ofthe Immigration and Naturalization Service ("INS"), defendant was personally served

with an order to show cause printed in both English and Spanish and read to defendant in

Spanish. The order alleged that defendant was not a U.S. citizen or national and had entered the

United States without being inspected by immigration authorities. It advised defendant that he

was required to appear for a hearing before an immigration judge; however, in the blanks left for

the time and place ofthe hearing, the issuing officer wrote:"To be calendared and notice

provided by the Executive Office for Immigration Review." Finally, the order advised defendant

that he was required to provide an address and telephone number where he could be contacted



^ After the Court orally denied defendant's motion on October 26,2018 [Dkt. No. 28], defendant
waived his right to trid by jury [Dkt. No. 29] and proceeded to a stipulated bench trial [Dkt.
No. 30]. The Court found defendant guilty ofillegal reentry after deportation [Dkt. No. 31],
sentenced him to time served without any period ofsupervised release, and ordered him to pay
the $100 mandatory special assessment.
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